                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION




                                    DISCOVERY ORDER

       After a review of the pleaded claims and defenses in this action, in furtherance of the

management of the Court’s docket under Federal Rule of Civil Procedure 16, and after receiving

the input of the parties to this action, it is ORDERED AS FOLLOWS:

1.     Initial Disclosures. In lieu of the disclosures required by Federal Rule of Civil Procedure

       26(a)(1), each party shall disclose to every other party the following information:

       (a)    the correct names of the parties to the lawsuit;

       (b)    the name, address, and telephone number of any potential parties;

       (c)    the legal theories and, in general, the factual bases of the disclosing party’s claims

              or defenses (the disclosing party need not marshal all evidence that may be offered

              at trial);

       (d)    the name, address, and telephone number of persons having knowledge of relevant

              facts, a brief statement of each identified person’s connection with the case, and a

              brief, fair summary of the substance of the information known by any such person;

       (e)    any indemnity and insuring agreements under which any person or entity carrying

              on an insurance business may be liable to satisfy part or all of a judgment entered
               in this action or to indemnify or reimburse for payments made to satisfy the

               judgment;

       (f)     any settlement agreements relevant to the subject matter of this action; and

       (g)     any statement of any party to the litigation.

2.     Disclosure of Expert Testimony. A party must disclose to the other parties the identity

       of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

       703 or 705, and:

       (a)     if the witness is one retained or specially employed to provide expert testimony in

               the case or one whose duties as the party’s employee regularly involve giving expert

               testimony, provide the disclosures required by Federal Rule of Civil Procedure

               26(a)(2)(B) and Local Rule CV-26; and

       (b)     for all other such witnesses, provide the disclosure required by Federal Rule of Civil

               Procedure 26(a)(2)(C).

3.     Additional Disclosures. Without awaiting a discovery request,1 each party will make the

       following disclosures to every other party:

       (a)     provide the disclosures required by the Patent Rules for the Eastern District of

               Texas with the following modifications to P.R. 3-1 and P.R. 3-3:

                 i.   If a party claiming patent infringement asserts that a claim element is a

                      software limitation, the party need not comply with P.R. 3-1 for those claim

                      elements until 30 days after source code for each Accused Instrumentality

                      is produced by the opposing party. Thereafter, the party claiming patent



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         The Court anticipates that this disclosure requirement will obviate the need for requests
for production.


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                    infringement shall identify, on an element-by-element basis for each

                    asserted claim, what source code of each Accused Instrumentality allegedly

                    satisfies the software limitations of the asserted claim elements.

              ii.   If a party claiming patent infringement exercises the provisions of

                    Paragraph 3(a)(i) of this Discovery Order, the party opposing a claim of

                    patent infringement may serve, not later than 30 days after receipt of a

                    Paragraph 3(a)(i) disclosure, supplemental “Invalidity Contentions” that

                    amend only those claim elements identified as software limitations by the

                    party claiming patent infringement.

     (b)    produce or permit the inspection of all documents, electronically stored

            information, and tangible things in the possession, custody, or control of the party

            that are relevant to the pleaded claims or defenses involved in this action, except to

            the extent these disclosures are affected by the time limits set forth in the Patent

            Rules for the Eastern District of Texas; and

     (c)    provide a complete computation of any category of damages claimed by any party

            to the action, and produce or permit the inspection of documents or other

            evidentiary material on which such computation is based, including materials

            bearing on the nature and extent of injuries suffered, except that the disclosure of

            the computation of damages may be deferred until the time for Expert Disclosures

            if a party will rely on a damages expert.

4.   Protective Orders. The Court will enter the parties’ Agreed Protective Order.

5.   Discovery Limitations. The discovery in this cause is limited to the disclosures described

     in Paragraphs 1-3 together with: 15 interrogatories per side, 40 requests for admissions per




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     side, excluding requests solely for authentication purposes, the Fed. R. C. P. 30(b)(6)

     depositions of the parties, depositions on written questions of custodians of business

     records for third parties, 35 hours of nonparty depositions per side, and 3 expert witnesses

     per side. “Side” means a party or a group of parties with a common interest. Any party

     may later move to modify these limitations for good cause.

6.   Privileged Information.       There is no duty to disclose privileged documents or

     information. However, the parties are directed to meet and confer concerning privileged

     documents or information after the Status Conference. By the deadline set in the Docket

     Control Order, the parties shall exchange privilege logs identifying the documents or

     information and the basis for any disputed claim of privilege in a manner that, without

     revealing information itself privileged or protected, will enable the other parties to assess

     the applicability of the privilege or protection. Any party may move the Court for an order

     compelling the production of any documents or information identified on any other party’s

     privilege log. If such a motion is made, the party asserting privilege shall respond to the

     motion within the time period provided by Local Rule CV-7. The party asserting privilege

     shall then file with the Court within 30 days of the filing of the motion to compel any proof

     in the form of declarations or affidavits to support their assertions of privilege, along with

     the documents over which privilege is asserted for in camera inspection.

7.   Signature. The disclosures required by this Order shall be made in writing and signed by

     the party or counsel and shall constitute a certification that, to the best of the signer’s

     knowledge, information and belief, such disclosure is complete and correct as of the time

     it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;

     otherwise, such disclosures shall be served as provided by Federal Rule of Civil Procedure




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     5. The parties shall promptly file a notice with the Court that the disclosures required under

     this Order have taken place.

8.   Duty to Supplement. After disclosure is made pursuant to this Order, each party is under

     a duty to supplement or correct its disclosures immediately if the party obtains information

     on the basis of which it knows that the information disclosed was either incomplete or

     incorrect when made or is no longer complete or true.

9.   Discovery Disputes.

     (a)    Except in cases involving claims of privilege, any party entitled to receive

            disclosures (“Requesting Party”) may, after the deadline for making disclosures,

            serve upon a party required to make disclosures (“Responding Party”) a written

            statement, in letter form or otherwise, of any reason why the Requesting Party

            believes that the Responding Party’s disclosures are insufficient. The written

            statement shall list, by category, the items the Requesting Party contends should be

            produced. The parties shall promptly meet and confer. If the parties are unable to

            resolve their dispute, then the Responding Party shall, within 14 days after service

            of the written statement upon it, serve upon the Requesting Party a written

            statement, in letter form or otherwise, which identifies (1) the requested items that

            will be disclosed, if any, and (2) the reasons why any requested items will not be

            disclosed. The Requesting Party may thereafter file a motion to compel.

     (b)    An opposed discovery related motion, or any response thereto, shall not exceed 7

            pages. Attachments to a discovery related motion, or a response thereto, shall not

            exceed 5 pages. No further briefing is allowed absent a request or order from the

            Court.




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      (c)    Prior to filing any discovery related motion, the parties must fully comply with the

             substantive and procedural conference requirements of Local Rule CV-7(h) and (i).

             Within 72 hours of the Court setting any discovery motion for a hearing, each

             party’s lead attorney (see Local Rule CV-11(a)) and local counsel shall meet and

             confer in person or by telephone, without the involvement or participation of other

             attorneys, in an effort to resolve the dispute without Court intervention.

      (d)    Counsel shall promptly notify the Court of the results of that meeting by filing a

             joint report of no more than two pages. Unless excused by the Court, each party’s

             lead attorney shall attend any discovery motion hearing set by the Court (though

             the lead attorney is not required to argue the motion).

      (e)    Any change to a party’s lead attorney designation must be accomplished by motion

             and order.

      (f)    Counsel are directed to contact the chambers of the undersigned for any “hot-line”

             disputes before contacting the Discovery Hotline provided by Local Rule CV-

             26(e). If the undersigned is not available, the parties shall proceed in accordance

             with Local Rule CV-26(e).

10.   No Excuses. A party is not excused from the requirements of this Discovery Order because

      it has not fully completed its investigation of the case, or because it challenges the

      sufficiency of another party’s disclosures, or because another party has not made its

      disclosures. Absent court order to the contrary, a party is not excused from disclosure

      because there are pending motions to dismiss, to remand or to change venue.

11.   Filings. Only upon request from chambers shall counsel submit to the court courtesy

      copies of any filings.




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12.      Proposed Stipulations by the Parties Regarding Discovery. There are no stipulations at

         this time regarding discovery.

13.      Standing Orders. The parties and counsel are charged with notice of and are required to

         fully comply with each of the Standing Orders of this Court. Such are posted on the Court’s

         website at http://www.txed.uscourts.gov/page1.shtml?location=info:judge&judge=17.       The
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         substance of some such orders may be included expressly within this Discovery Order,

         while others (including the Court’s Standing Order Regarding Protection of Proprietary

         and/or Confidential Information to Be Presented to the Court During Motion and Trial

         Practice) are incorporated herein by reference. All such standing orders shall be binding on

         the parties and counsel, regardless of whether they are expressly included herein or made

         a part hereof by reference.
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 10th day of October, 2018.




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                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE




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